Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 1 of 30




                                                         CRB
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 2 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 3 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 4 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 5 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 6 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 7 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 8 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 9 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 10 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 11 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 12 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 13 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 14 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 15 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 16 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 17 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 18 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 19 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 20 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 21 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 22 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 23 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 24 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 25 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 26 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 27 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 28 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 29 of 30
Case 3:05-cr-00395-CRB   Document 119   Filed 07/28/05   Page 30 of 30
